Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 1 of 8



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



   NORTHSTAR HEALTHCARE
   CONSULTING, LLC,


            Plaintiff/Counterclaim
            Defendant,

   V.                                  CIVIL ACTION NO.
                                       1:17-CV-1071-ODE

   MAGELLAN HEALTH, INC.,


            Defendant/Counterclaim
            Plaintiff,

   and

   MAGELLAN MEDICAID
   ADMINISTRATION, INC.; and
   MAGELLAN RX MANAGEMENT, INC.,

             Defendants.




                                   ORDER

         This closed civil action is presently before the Court to

  determine the reasonable litigation costs and attorneys' fees

  owed to Defendants/Counterclaim Plaintiffs Magellan Health,

  Inc., Magellan Medicaid Administration, Inc., and Magellan Rx

  Management, Inc. (collectively, "Defendants"). On November 4,

  2019, Defendants filed a Motion for Attorneys'1 Fees and

  Litigation Costs [Doc. 299], asking the Court to award them the

  litigation costs and attorneys'' fees associated with defending

  against Plaintiff NorthStar Healthcare Consulting, LLC'1 s

  misappropriation of trade secrets claims. On December 4, 2019,

  Defendants filed a Notice of Filing Declarations in Support of

  Defendants' Motion for Attorneys' Fees and Litigation Costs

   [Doc. 303], detailing the fees and costs sought.
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 2 of 8




        On February 20, 2020, this Court granted Defendants' Motion

  for Attorneys'1 Fees and Litigation Costs [Doc. 311] and directed

  Defendants to file with the Court, in writing, a detailed

  accounting of the work effort involved in defending Plaintiffs

  trade secret claims. Defendants filed their accounting1 on

  March 2, 2020 [Doc. 312], seeking $1,646,906.50. These costs

  are detailed in the summary of invoices included in Defendants'

  Bill of Costs.2 Plaintiff filed a response in opposition to

  Defendants' Bill of Costs on March 12, 2020 [Doc. 313]. The

  issue before the Court is whether the amount sought by

  Defendants is reasonable.

  I. DISCUSSION

        Under Federal' Rule of Civil Procedure 54, a prevailing

  party may recover their litigation costs and attorneys' fees.

  See Fed. R. Civ. P. 54(d)(1) and (d)(2). Rule 54(d)(1) allows

  a prevailing party to recover its litigation costs, Salvador v.

  Brico, LLC, 796 F. App'x 654, 656 (llth Cir. 2020), and Rule

  54(d)(2) allows a prevailing party to recover its attorneys'

  fees, Archer-Daniels-Midland Co. v. Reves, CIVIL ACTION NO.

  1:13-CV-02194-CC, 2016 WL 11544409, at *2 (N.D. Ga. Sept. 30,

  2016); see also LR 54, NDGa.




        Defendants styled their accounting as a Notice of Filing
  Second Declaration of Christopher A. Wiech in Support of
  Defendants' Motion for Attorneys'1 Fees and Litigation Costs
  [Doc. 312].

      2Defendants have filed two versions of their accounting.
  The Court therefore refers to Doc. 303 and Doc. 312 collectively
  as Defendants' "Bill of Costs."

                                     -2-
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 3 of 8




        A. Litigation Costs

        Rule 54(d) does not allow judges "unrestrained discretion

  to tax costs to reimburse a winning litigant for every expense

  he has seen fit to incur in the conduct of his case." Farmer v.

  Arabian Am. Oil Co., 379 U.S. 227, 235 (1964), disauuroved of on

  other grounds by Crawford Fittincr Co. v. J. T. Gibbons, Inc.,

  482 U.S. 437, 442-43 (1987); Helms v. Wal-Mart Stores, Inc., 808

  F. Supp. 1568, 1569 (N.D. Ga. 1992). Rather, district courts

  must limit costs awarded under Rule 54(d) to those items set

  forth in 28 U...S.C. § 1920 and other related statutes. See

  Crawford, 482 U.S. at 445; Mathews v. Crosbv, 480 F.3d 1265,

  1276 (llth Cir. 2007); Helms, 808 F. Supp. at 1569. Taxable

  costs under § 1920 include:

        (1) Fees of the clerk and marshal;

        (2) Fees for printed or electronically recorded
        transcripts necessarily obtained for use in the case;

        (3) Fees and disbursements for printing and witnesses;

        (4) Fees for exemplification and the costs of making
        copies of any materials where the copies are
        necessarily obtained for use in the case;

        (5) Docket fees under section 1923 of this title;

        (6) Compensation of court appointed experts,
        compensation of interpreters, and salaries, fees,
        expenses, and costs of special interpretation services
        under section 1828 of this title.

  28 U.S.C. § 1920.

        In response. Plaintiff concedes Defendants are entitled to

  court reporter and filing fees under Rule 51(d)(1) and 28 U.S.C.

  § 1920(4). Therefore, Plaintiff does not dispute that it owes

  Defendants $30,415.40 for court reporter services and $700 for

  transcripts and filing tees, for a total of $31,115.40.
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 4 of 8




  However, Plaintiff does take issue with Defendants' requests for

  e-discovery costs and expert witness fees. The Court addresses

  each argument in turn.

              i^ E-Discoverv Costs

        As part of their Bill of Costs, Defendants seek $101,363.75

  that was billed by its e-discovery vendor [Doc. 312-1 at 11] .

  Plaintiff argues these costs are not recoverable under 28 U.S.C.

  § 1920. The United States Court of Appeals for the Eleventh

  Circuit has not directly ruled on what e-discovery related costs

  are recoverable under 28 U.S.C. § 1920. However, the Federal

  Circuit has addressed the issue, relying in part on Eleventh

  Circuit law. See CBT Flint Partners, LLC v. Return Path, Inc.,

  737 F.3d 1320, 1326 (Fed. Cir. 2013).

        In determining what e-discovery costs are included in the

  scope of § 1920(4), the Federal Circuit divided e-discovery

  costs into three categories:

        (1) copying electronic documents as a whole from their
        source material (e.g., a computer hard drive); (2)
        organizing the electronic materials into a database;
        indexing, decrypting, and de-duplicating the
        materials; and then filtering and reviewing the
        materials to determine which ones are privileged or
        responsive to discovery requests; and (3) exporting
        electronic documents onto deliverable memory media,
        such as a hard drive or a DVD.

  Harrison v. Belk, Inc., CIVIL ACTION FILE NUMBER 1:15-CV-3743-

  TCB, 2018 WL 10140301, at *2 (N.D. Ga. Jan. 12, 2018) (citation

  omitted);' see also Akanthos Capital Mcrmt. , LLC v. ComuuCredit

  Holdings Corp./ 2 F. Supp. 3d 1306, 1314 (N.D. Ga. 2014). The

  court concluded that category one costs are mostly taxable,

  category two costs are mostly nontaxable, and category three

  costs are taxable. Akanthos Capital, 2 F. Supp. 3d at 1314.

                                     -4-
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 5 of 8




  Cases in the United States District Court for the Northern

  District of Georgia have adopted this framework. See Harrison,

  2018 WL 10140301, at *2; United States ex. rel. Saldivar v.

  Fresenius Med. Care Holdings, Inc., 291 F. Supp. 3d 1345, 1352

   (N.D. Ga. 2017); Akanthos Capital, 2 F. Supp. 3d at 1314.

        Defendants seek costs for services such as "collection of

   [electronically stored information (WESI//) ] , hosting ESI, and

  producing documents in the case" [Doc. 312-1 at 11]. Because

  these activities relate to the collection, retention, and

  organization of data, the Court interprets them as falling into

  category two. The cost of "creating a dynamic, indexed and

  searchable database is nothing more than an efficient,

  convenient, modern-day version of paper document review// and

  therefore "cannot be taxed." Akanthos Capital, 2 F. Supp. 3d at

  1318; see also Race Tires Am., Inc. v. Hoosier Racing Tire

  Corp. , 674 F.3d 158, 170 (3d Cir. 2012) (approving of cases

  "recogniz[ing] that gathering, preserving, processing,

  searching, culling and extracting ESI simply do not amount to

   'making copies'"); Harrison, 2018 WL 10140301, at *2 (finding

  general entries such as processing and storage fees not

  recoverable under § 1920) . Accordingly, the Court DENIES

  Defendants' request for $101,363.75 in e-discovery fees.

              ii. Expert Witness Fees

        Plaintiff additionally objects to the expert witness fees

  listed in Defendants'1 Bill of Costs. Defendants seek

  $131,598.85 in expert witness fees to be paid to experts Denise

  T. Dauphine ("Dauphin") and Mark A. Tripodi ("Tripodi") as

  taxable costs under § 1920. The power of the Court to tax

                                     -5-
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 6 of 8



  witness costs is conferred by 28 U.S.C. § 1920(3), however the

  amount of witness fees that may be charged under § 1920(3) is

  governed by 28 U.S.C. § 1821. CrawforcL 482 U.S. at 445; Helms,

  808 F. Supp. at 1572.

        Section 1821 states that "a witness in attendance at any

  court of the United States, or before a United States Magistrate

  Judge, or before any person authorized to take his deposition

  . . . shall be paid the fees and allowances provided by this

  section." 28 U.S.C. § 1821 (a) (1). Under § 1821(b), the Court

  may only tax expert witness fees in the amount of $40 per day.

  See Artisan Contractors Ass'n of Am., Inc. v. Frontier Ins. Co.,

  275 F.3d 1038, 1040 (llth Cir. 2001) (holding "costs that may be

  assessed to reimburse a prevailing party for its expert witness

  fees are limited to the $40 limit provided for in 28 U.S.C.

  § 1821 (b)//); Morrison v. Reichhold Chems., Inc., 97 F.3d 460,

  463 (llth Cir. 1996) (finding "district court erred in taxing as

  costs any amount for expert witness fees in excess of the $40

  per day allowed under § 1821"); Helms, 808 F. Supp. at 1572 ("A

  district court cannot grant the cost of a witness fee that is

  higher than the forty dollars set forth in section 1821."}.

        Defendants are therefore entitled solely to $40 per day,

  per witness in expert fees, and not the $131,598.85 they seek.

  According to Plaintiff, Dauphine and Tripodi were each deposed

  one time, entitling Defendants to recover a total of $80 per

  diem fees. The Court therefore DENIES Defendants' request for

  $131,598.85 and instead orders a witness fee of $80 for Dauphine




                                     -6-
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 7 of 8



  and Tripodi''s deposition testimony. Thus, Defendants are

  entitled a total of $31,195.403 in litigation costs.

          B. Attorneys' Fees

          Defendants last request $1,382,828.50 in attorneys'' fees.

  In response. Plaintiff contends Defendants have not sufficiently

  isolated the fees related solely to the defense of the GTSA and

  DTSA claims. According to Plaintiff, the Court must exclude

  "excessive, redundant or otherwise unnecessary" work. Norman v.

  Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1301 (llth

  Cir. 1988). Plaintiff also argues that "[a] well-prepared fee

  petition . . . [sh]ould include a summary, grouping the time

  entries by the nature of the activity or stage of the case."

  Id. at 1303; see also Edelen v. Camubell Soup Co., 265 F.R.D.

  676, 693-94 (N.D. Ga. 2010) (citation omitted).

          Having reviewed Defendants' Bill of Costs, the Court is

  satisfied that Defendants provided such a summary of costs \see

  Doc. 303; Doc. 312] and that the sum sought is reasonable.

  First, the parties have focused predominantly on Plaintiff's

  allegations of trade secret misappropriation since the onset of

  the case. Moreover, Defendants do not seek to recover any

  attorneys' fees since the Court awarded them summary judgment on

  July 10, 2019. Defendants have also excluded fees attributable

  to their counterclaims against Plaintiff. The Court therefore

  GRANTS Defendants' request for $1,382,828.50 in attorneys' fees.




          3This sum includes $30,415.40 for court reporter services,
  $700 for transcripts and filing fees, and $80 for expert witness
  fees.


                                     -7-
Case 1:17-cv-01071-ODE Document 321 Filed 06/11/20 Page 8 of 8




  II. CONCLUSION

        For the reasons provided above, the Court GRANTS in part

  and DENIES in part Defendants' Bill of Costs [Doc. 312] . The

  Court GRANTS Defendants' request for $1,382,828.50 in attorneys'

  fees. The Court, however, DENIES Defendants^ request for

  $131,598.85 in expert costs and $132,479.15 in non-expert costs.

  The Court instead GRANTS $80 in expert costs and $31,115.40 in

  non-expert costs. Defendants are hereby entitled to

  $1,414,023.90 in litigation costs and attorneys' fees.




        SO ORDERED, this fQ day of June, 2020.




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                               ORTTTDA D. EVANS
                               UNITED STATES DISTRICT JUDGE
